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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1119V
                                      (not to be published)

    ************************* *
                                       *
    RICHARD WATTS and TIFFANI WATTS, **
    parents of R.W., a minor,          *                   Filed: January 13, 2021
                                       *
                          Petitioners, *
                                       *
                                       *                   Decision by Stipulation; Damages; DTaP
    v.                                 *                   Vaccine; Hepatitis A Vaccine; Influenza
                                       *                   Vaccine; Immune Thrombocytopenia
    SECRETARY OF HEALTH AND            *                   Purpura (“ITP”)
    HUMAN SERVICES,                    *
                                       *
                                       *
                          Respondent   *
                                       *
    ************************* *

Edward Kraus, Law Offices of Chicago-Kent College of Law, for Petitioner
Kimberly S. Davey, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

       On August 1, 2019, Richard and Tiffani Watts (“Petitioners”) filed a petition on behalf of
their minor son, R.W., seeking compensation under the National Vaccine Injury Compensation
Program (“the Vaccine Program”).2 Pet., ECF No. 1. Petitioners allege their son suffered from
Immune Thrombocytopenia Purpura (ITP) as a result of one or more of the DTaP, Hepatitis A, or
influenza vaccines he received on February 7, 2017. See Stipulation ¶ 2, 4, dated January 13, 2021
(ECF No. 28); see also Petition.

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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        Respondent denies “that [R.W.’s] vaccines caused R.W. to suffer from ITP or any other
injury or his current condition.” See Stipulation ¶ 6. Nonetheless, both parties, while maintaining
their above-stated positions, agreed in a stipulation filed on January 13, 2021 that the issues before
them can be settled and that a decision should be entered awarding Petitioner compensation. ECF
No. 28.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The parties have stipulated that petitioner shall receive compensation in the form of an
annuity contract. Stip. ¶ 8. Accordingly, pursuant to 42 U.S.C. § 300aa-15(f)(4), I order
respondent to purchase, and take ownership of, an annuity contract,3 as described below:

        The Life Insurance Company must meet the following criteria:

        1. Have a minimum of $250,000,000 of capital and surplus, exclusive of any mandatory
           security valuation reserve; and

        2. have one of the following ratings from two of the following rating organizations:
           a) A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;
           b) Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;
           c) Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-, AA,
              AA+, or AAA;
           d) Fitch Credit Rating Company, Insurance Company Claims-Paying Ability Rating:
              AA-, AA, AA+, or AAA.

      The parties have agreed that the Life Insurance Company will make the following lump
sum payments to R.W.:

        a. $34,337.83 payable in a certain lump sum on June 15, 2036;
        b. $37,041.98 payable in a certain lump sum on June 15, 2039; and
        c. $40,029.46 payable in a certain lump sum on June 15, 2042.

Stip. ¶ 10. The parties have also stipulated that should R.W. predecease any of the certain lump
sum payments set forth above, any remaining certain lump sump payments shall be made to his
estate. Written notice to the Secretary of Health and Human Services and to the Life Insurance
Company shall be provided within twenty (20) days of R.W.’s death. Id.




3
 To satisfy the conditions set forth herein, in respondent’s discretion, respondent may purchase one or
more annuity contracts from one or more life insurance companies.
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        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioners. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
Clerk of the Court is directed to enter judgment herewith.4

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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